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13
                            UNITED STATES DISTRICT COURT
14
                          CENTRAL DISTRICT OF CALIFORNIA
15

16   UNIVERSAL CITY STUDIOS                    Case No. 2:17-cv-07496-MWF-AS
17
     PRODUCTIONS LLP; COLUMBIA
     PICTURES INDUSTRIES, INC.;                ANSWER OF DEFENDANT
18   DISNEY ENTERPRISES, INC.;                 TICKBOX TV, LLC
19
     TWENTIETH CENTURY FOX FILM
     CORPORATION; PARAMOUNT                    [DEMAND FOR JURY TRIAL]
20   PICTURES CORPORATION; WARNER
21   BROS. ENTERTAINMENT INC.;
     AMAZON CONTENT SERVICES;
22   LLC; NETFLIX STUDIOS, LLC,
23
                    Plaintiffs,
24
           v.
25
     TICKBOX TV LLC,
26

27               Defendant.

28

                                          ANSWER
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 1         COMES NOW TickBox TV LLC (“TickBox”) and asserts its affirmative
 2   defenses and answers each and every paragraph of Plaintiff’s Complaint as follows:
 3         1.     TickBox admits that it distributes and sells a hardware device. Any
 4   advertising, promotional or website material related to the marketing and sale of
 5   TickBox’s products is the highest and best evidence of its content and will speak for
 6   itself. TickBox denies the remaining allegations of Paragraph 1 of the Complaint.
 7         2.     TickBox denies Paragraph 2 of the Complaint.
 8         3.     TickBox denies Paragraph 3 of the Complaint.
 9         4.     TickBox is without sufficient knowledge or information upon which to
10   form a belief of the truth or accuracy of the allegation contained in Paragraph 4 of the
11   Complaint.
12         5.     TickBox is without sufficient knowledge or information upon which to
13   form a belief of the truth or accuracy of the allegation contained in Paragraph 5 of the
14   Complaint.
15         6.     TickBox is without sufficient knowledge or information upon which to
16   form a belief of the truth or accuracy of the allegation contained in Paragraph 6 of the
17   Complaint.
18         7.     TickBox is without sufficient knowledge or information upon which to
19   form a belief of the truth or accuracy of the allegation contained in Paragraph 7 of the
20   Complaint.
21         8.     TickBox is without sufficient knowledge or information upon which to
22   form a belief of the truth or accuracy of the allegation contained in Paragraph 8 of the
23   Complaint.
24         9.     TickBox is without sufficient knowledge or information upon which to
25   form a belief of the truth or accuracy of the allegation contained in Paragraph 9 of the
26   Complaint.
27         10.    TickBox is without sufficient knowledge or information upon which to
28   form a belief of the truth or accuracy of the allegation contained in Paragraph 10 of
                                                2
                                           ANSWER
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 1   the Complaint.
 2         11.    TickBox is without sufficient knowledge or information upon which to
 3   form a belief of the truth or accuracy of the allegation contained in Paragraph 11 of
 4   the Complaint.
 5         12.    TickBox is without sufficient knowledge or information upon which to
 6   form a belief of the truth or accuracy of the allegation contained in Paragraph 12 of
 7   the Complaint.
 8         13.    TickBox denies it is a corporation duly incorporated under the laws of the
 9   State of Georgia. TickBox is a limited liability company organized under the laws of
10   the State of Georgia. TickBox otherwise admits the allegations in Paragraph 13 of the
11   Complaint.
12         14.    The allegations of Paragraph 14 of the Complaint is a statement of law
13   and/or Plaintiff’s legal position to which no response is required by this Defendant.
14         15.    TickBox admits Paragraph 15 of the Complaint.
15         16.    TickBox admits Paragraph 16 of the Complaint.
16         17.    TickBox denies the allegations of Paragraph 17 of the Complaint and
17   affirmatively states that the content of its online advertising and website at any given
18   time is the highest and best evidence of its content and will speak for itself.
19         18.    The allegations of Paragraph 18 of the Complaint is a statement of law
20   and/or Plaintiff’s legal position and no response is required of this Defendant. To the
21   extent further response is required of this Paragraph the allegations are denied.
22         19.    TickBox is without sufficient knowledge or information upon which to
23   form a belief as to the truth or accuracy of the allegations contained in Paragraph 19 of
24   the Complaint. Moreover, the allegations are not those in effect but are self-serving
25   promotional statements of the Plaintiff.
26         20.    TickBox is without sufficient knowledge or information upon which to
27   form a belief as to the truth or accuracy of the allegations contained in Paragraph 20 of
28   the Complaint. To the extent any further response is required of this Paragraph the
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 1   allegations are denied.
 2         21.    TickBox is without sufficient knowledge or information upon which to
 3   form a belief as to the truth or accuracy of the allegations contained in Paragraph 21 of
 4   the Complaint. To the extent any further response is required of this Paragraph the
 5   allegations are denied.
 6         22.    TickBox is without sufficient knowledge or information upon which to
 7   form a belief as to the truth or accuracy of the allegations contained in Paragraph 22 of
 8   the Complaint. To the extent any further response is required of this Paragraph the
 9   allegations are denied.
10         23.    TickBox is without sufficient knowledge or information upon which to
11   form a belief as to the truth or accuracy of the allegations concerning alleged third
12   party sites to which Tickbox TV links or TickBox customers have access. TickBox
13   admits that it has no contracts with any of the Plaintiffs. To the extent a response is
14   required of this Paragraph the allegations are denied.
15         24.    TickBox admits that the screenshot included in Paragraph 24 of the
16   Complaint was a true and accurate copy of a screenshot of a page of the TickBox
17   website at the time and that such a page is the highest and best evidence of its content
18   and will speak for itself with respect to any allegations concerning the installation or
19   use of TickBox TV. TickBox otherwise admits the allegations in Paragraph 24 of the
20   Complaint.
21         25.    TickBox’s marketing and promotional materials are the highest and best
22   evidence of their content and speak for themselves. To the extent a further response is
23   required of this Paragraph the allegations are denied.
24         26.    TickBox admits Paragraph 26 of the Complaint.
25         27.    TickBox denies Paragraph 27 of the Complaint.
26         28.    TickBox denies Paragraph 28 of the Complaint as pled insofar as it has
27   no information or knowledge concerning any “customer’s perspective”. The manner
28   in which the TickBox products operated at the time this lawsuit was filed shall speak
                                                 4
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 1   for itself as well as any information or materials contained on any software included
 2   therein.
 3         29.    To the extent Paragraph 29 is an allegation of “the customer’s
 4   perspective” as referenced in Paragraph 28 of the Complaint, TickBox denies
 5   Paragraph 29 of the Complaint as pled insofar as it has no information or knowledge
 6   concerning any “customer’s perspective”. The manner in which the TickBox products
 7   operated at the time this lawsuit was filed shall speak for itself as well as any
 8   information or materials contained on any software included therein. To the extent
 9   further response is required, denied.
10         30.    To the extent Paragraph 30 is an allegation of “the customer’s
11   perspective” as referenced in Paragraph 28 of the Complaint, TickBox denies
12   Paragraph 30 of the Complaint as pled insofar as it has no information or knowledge
13   concerning any “customer’s perspective”. The manner in which the TickBox products
14   operated at the time this lawsuit was filed shall speak for itself as well as any
15   information or materials contained on any software included therein. To the extent
16   further response is required, denied.
17         31.    To the extent Paragraph 31 is an allegation of “the customer’s
18   perspective” as referenced in Paragraph 28 of the Complaint, TickBox denies
19   Paragraph 31 of the Complaint as pled insofar as it has no information or knowledge
20   concerning any “customer’s perspective”. The manner in which the TickBox products
21   operated at the time this lawsuit was filed shall speak for itself as well as any
22   information or materials contained on any software included therein. To the extent
23   further response is required, denied.
24         32.    To the extent Paragraph 32 is an allegation of “the customer’s
25   perspective” as referenced in Paragraph 28 of the Complaint, TickBox denies
26   Paragraph 32 of the Complaint as pled insofar as it has no information or knowledge
27   concerning any “customer’s perspective”. The manner in which the TickBox products
28   operated at the time this lawsuit was filed shall speak for itself as well as any
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                                             ANSWER
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 1   information or materials contained on any software included therein. To the extent
 2   further response is required, denied.
 3         33.    To the extent Paragraph 33 is an allegation of “the customer’s
 4   perspective” as referenced in Paragraph 28 of the Complaint, TickBox denies
 5   Paragraph 33 of the Complaint as pled insofar as it has no information or knowledge
 6   concerning any “customer’s perspective” or “popularity” of “Covenant”. The manner
 7   in which the TickBox products operate at the time this lawsuit was filed shall speak
 8   for itself as well as any information or materials contained on any software included
 9   therein. To the extent further response is required, denied.
10         34.    TickBox is without sufficient knowledge or information upon which to
11   form a belief of the truth or accuracy of the allegations contained in Paragraph 4 of the
12   Complaint. The manner in which the TickBox products operated at the time this
13   lawsuit was filed shall speak for itself as well as any information or materials
14   contained on any software included therein.
15         35.    Defendant is without sufficient knowledge or information upon which to
16   form a belief as to the truth or accuracy of the allegations concerning which movies
17   had been authorized for a video-on-demand distribution, which were still being
18   distributed exclusively to theaters and which are not authorized for in-home viewing
19   by a video-on-demand distribution as of the date of the Complaint. In further response
20   to Paragraph 35, TickBox states that the contents of any page which may have been
21   accessible on the TickBox device as of the date of the Complaint is the highest and
22   best evidence of its content and will speak for itself. To the extent further response to
23   this Paragraph is required the allegations are denied.
24         36.    TickBox is without sufficient knowledge or information upon which to
25   form a belief as to the truth or accuracy of the allegations concerning what content had
26   been authorized with respect to third-party “sources”. TickBox states that the contents
27   of any page which may have been accessible on the TickBox device as of the date of
28   the Complaint is the highest and best evidence of its content and will speak for itself.
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 1   To the extent further response to this Paragraph is required the allegations are denied.
 2         37.    TickBox is without sufficient knowledge or information upon which to
 3   form a belief as to the truth or accuracy of the allegations regarding “CAM” alleged in
 4   Paragraph 37 of the Complaint and otherwise denies the allegation in Paragraph 37.
 5         38.    TickBox states that the contents of any page which may have been
 6   accessible on the TickBox device as of the date of the Complaint is the highest and
 7   best evidence of its content and will speak for itself. TickBox denies Paragraph 38 of
 8   the Complaint.
 9         39.    TickBox denies Paragraph 39 of the Complaint.
10         40.    The content of TickBox’s promotional online and website information is
11   the highest and best evidence of their content and shall speak for themselves. To the
12   extent a further response is required of this Paragraph the allegations are denied.
13         41.    The content of TickBox’s promotional online and website information is
14   the highest and best evidence of their content and shall speak for themselves. To the
15   extent a further response is required of this Paragraph the allegations are denied.
16         42.    The content of TickBox’s promotional online and website information is
17   the highest and best evidence of their content and shall speak for themselves. To the
18   extent a further response is required of this Paragraph the allegations are denied.
19         43.    Defendant denies Paragraph 43 of the Complaint. The content of
20   TickBox’s promotional online and website information is the highest and best
21   evidence of their content and shall speak for themselves. To the extent a further
22   response is required of this Paragraph the allegations are denied.
23         44.    The content of TickBox’s promotional online and website information is
24   the highest and best evidence of their content and shall speak for themselves. To the
25   extent a further response is required of this Paragraph the allegations are denied.
26         45.    TickBox admits it is a commercial venture and that its revenues will
27   increase based upon increased sales. TickBox otherwise denies the allegations in
28   Paragraph 45 of the Complaint.
                                                 7
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 1         46.    In response to Paragraph 46 of the Complaint, TickBox restates and
 2   incorporates by reference herein its response to the Paragraphs 1-45 of the Complaint
 3   with the same force and effect as if they had been restated herein.
 4         47.    TickBox denies Paragraph 47 of the Complaint.
 5         48.    TickBox denies Paragraph 48 of the Complaint.
 6         49.    TickBox denies Paragraph 49 of the Complaint.
 7         50.    TickBox denies Paragraph 50 of the Complaint.
 8         51.    TickBox denies Paragraph 51 of the Complaint.
 9         52.    TickBox denies Paragraph 52 of the Complaint.
10         53.    TickBox denies Paragraph 53 of the Complaint.
11         54.    TickBox denies Paragraph 54 of the Complaint.
12         55.    TickBox denies Paragraph 55 of the Complaint.
13         56.    In response to Paragraph 56 of the Complaint, TickBox restates and
14   incorporates by reference herein its response to the Paragraphs 1-45 of the Complaint
15   with the same force and effect as if they had been restated herein.
16         57.    TickBox denies Paragraph 57 of the Complaint.
17         58.    TickBox denies Paragraph 58 of the Complaint.
18         59.    TickBox denies Paragraph 59 of the Complaint.
19         60.    TickBox denies Paragraph 60 of the Complaint.
20         61.    TickBox denies Paragraph 61 of the Complaint.
21         62.    TickBox denies Paragraph 62 of the Complaint.
22         63.    TickBox denies Paragraph 63 of the Complaint.
23         64.    TickBox denies Paragraph 64 of the Complaint.
24         65.    TickBox denies Paragraph 65 of the Complaint.
25         66.    Any allegation that is not heretofore expressly admitted is denied.
26                       AFFIRMATIVE AND OTHER DEFENSES
27         Defendant asserts the following defenses, whether affirmative or otherwise.
28   Defendant reserves all further defenses that may now or in the future exist based on
                                                8
                                            ANSWER
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 1   discovery and further factual investigation in the case.
 2                               FIRST AFFIRMATIVE DEFENSE
 3                                   (Failure to State a Claim)
 4         1.     The Complaint and each claim within it fail to allege facts sufficient to
 5   state a cause of action.
 6                              SECOND AFFIRMATIVE DEFENSE
 7                                  (Lack of Volitional Action)
 8         2.     The lack of any volitional action by Defendant relating to infringement
 9   bars liability of Defendant.
10                              THIRD AFFIRMATIVE DEFENSE
11                                   (Lack of Culpable Intent)
12         3.     Defendant’s lack of culpable intent regarding alleged underlying
13   infringements bars the claims against Defendant.
14                              FOURTH AFFIRMATIVE DEFENSE
15                                       (Unclean Hands)
16         4.     The doctrine of unclean hands bars Plaintiff’s claims.
17                              FIFTH AFFIRMATIVE DEFENSE
18                                      (Copyright Misuse)
19         5.     The doctrine of copyright misuse bars Plaintiff’s claims.
20                              SIXTH AFFIRMATIVE DEFENSE
21                                      (Failure to Mitigate)
22         6.     Plaintiff’s failure to mitigate damages bars Plaintiff’s claims.
23                          SEVENTH AFFIRMATIVE DEFENSE
24                                     (Waiver and Estoppel)
25         7.     Waiver and estoppel bar Plaintiff’s claims.
26                              EIGHTH AFFIRMATIVE DEFENSE
27                                (Safe Harbors – 17 U.S.C. § 512)
28         8.     The safe harbors under 17 U.S.C. § 512 bar the relief against Defendants
                                                  9
                                             ANSWER
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  1   that the Plaintiff seeks.
  2                               NINTH AFFIRMATIVE DEFENSE
  3           (Violation of First, Fifth and Eighth Amendments to U.S. Constitution)
  4          9.     Plaintiff’s claims for statutory damages violate the First, Fifth, and
  5   Eighth Amendments to the United States Constitution.
  6                               TENTH AFFIRMATIVE DEFENSE
  7                      (Communications Decency Act – 47 U.S.C. § 230)
  8          10.    Defendant is immune from any liability under 47 U.S.C. § 230 of the
  9   Communications Decency Act.
 10          WHEREFORE, Defendant prays for relief as follows:
 11
             1.     That Plaintiff take nothing by its Complaint, and that the same be
 12
                    dismissed with prejudice;
 13
             2.     That Defendant be awarded its costs of suit, including reasonable
 14
                    attorneys’ fees; and
 15

 16          3.     For such other and further relief as the Court may deem just and

 17                 appropriate.

 18   Dated: December 8, 2017
 19
                                           witkow | baskin

 20                                        SCHREEDER, WHEELER & FLINT, LLP
 21

 22                                        By: /s/ Brandon J. Witkow

 23                                             Brandon Witkow

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 28                                        TICKBOX TV LLC
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                                            ANSWER
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  1                             DEMAND FOR JURY TRIAL
  2         Pursuant to Rule 38(b), Federal Rules of Civil Procedure and Local Rule 38-1,
  3   Defendant hereby demands a trial by jury.
  4

  5   Dated: December 8, 2017            witkow | baskin
  6
                                         SCHREEDER, WHEELER & FLINT, LLP
  7

  8
                                         By: /s/ Brandon J. Witkow
  9
                                              Brandon Witkow
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 15                                      Attorneys for Defendant
                                         TICKBOX TV LLC
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                                           ANSWER
